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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN




Kaitlyn Brower Dressman
[E−filer],

                                  Plaintiff(s),
v.                                                    Case No. 2:23−cv−12985−GAD−APP
                                                      Hon. Gershwin A. Drain
McLaren Healthcare
Corporation, et al.,

                                  Defendant(s),



          ORDER OF REFERENCE TO UNITED STATES MAGISTRATE JUDGE

    IT IS ORDERED that this matter is referred to U.S. Magistrate Judge Anthony P. Patti for
all pretrial proceedings, including a hearing and determination of all non−dispositive matters
pursuant to 28 U.S.C. § 636(b)(1)(A) and/or a report and recommendation on all dispositive
matters pursuant to 28 U.S.C. § 636(b)(1)(B).




                                                  s/Gershwin A. Drain
                                                  Gershwin A. Drain
                                                  United States District Judge



                                     Certificate of Service

   I hereby certify that on this date a copy of the foregoing notice was served upon the parties
and/or counsel of record herein by electronic means or first class U.S. mail.



                                                  s/L. Bartlett
                                                  Case Manager

Dated: February 9, 2024
